Case 5:09-cr-00279-SMH-MLH   Document 100   Filed 11/23/09   Page 1 of 5 PageID #:
                                    185
Case 5:09-cr-00279-SMH-MLH   Document 100   Filed 11/23/09   Page 2 of 5 PageID #:
                                    186
Case 5:09-cr-00279-SMH-MLH   Document 100   Filed 11/23/09   Page 3 of 5 PageID #:
                                    187
Case 5:09-cr-00279-SMH-MLH   Document 100   Filed 11/23/09   Page 4 of 5 PageID #:
                                    188
Case 5:09-cr-00279-SMH-MLH   Document 100   Filed 11/23/09   Page 5 of 5 PageID #:
                                    189
